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Exhibit R
Case 2:90-cv-00520-KJM-SCR Document 6768-2 Filed 07/15/20 Page 2 of 67

From: Weber, Nicholas@CDCR

To: Melissa Bentz; Coleman Team - RBG Only; Steve Fama; Angie Cooper; ee Brian Main; Cindy
Radavsky; Henry D. Dlugacz; Jamas DeGroot: Jeffrey Metzner; Joseph Sorah; Kahlil Johnson; Karen Rea; Kerry
Courtney Hughes, MD; Kerry F. Walsh; Kristina Hector; Lindsay i rates McClendon- Hunt; Lana Lopez;
Maria Masotta; Matt Lopes; Michael Ryan; Mohamedu Jones; Mary Perrien; Patricia M. Williams; Rachel Gribbin;
Regina Costa; Rod Hickman Gmail; Sharen Barboza; Sofia Millham; Tim Rougeux; William Trezvant; Zelia M.

Tavares

Cc: Elise Thorn; Tyler Heath; lucas. hennes@doj.ca.gov; Kyle Lewis: Dillon Hockerson; Stafford, Carrie@CDCR; Ryan,
Amanda@CDCR

Subject: Coleman Tier Report and TMHU Patient List

Date: Monday, July 06, 2020 4:53:57 PM

Attachments: Tier Report 06222020 - 06262020 .pdf
TMHU Patient List 0622-06262020.pdf

All,

Attached is the Tier Report and TMHU/Treat in Place List for the week of June 22nd.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

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June 22-26, 2020

Region Institution MH Porgram Current Tier
| CMF PIP Acute? 3
CMF PIP ICF* 3
| SAC PSU 4
| SAC ASU 4
| SAC STRH 4
| SAC LTRH 4
| SAC EOP 4
| SAC CCCMS 4
| SAC TMHU 4
| SAC MHCB 4
| SQ STRH™ 4
| SQ CCCMS” 4
| SQ ASU? 4
| SQ EOP” 4
| SQ Acute 4
SQ ICF 4
| SQ MHCB 4
II CCWF CCCMS 4
i! CCWF STRH 3
il CTF CCCMS® 3
II CTF TMHU> 3
iI SVSP CCCMS 3
HII ASP CCCMs* 3
lll LAC ASU 3
III LAC EOP 3
ill LAC TMHU 3
III SATF EOP” 3
III SATF STRH” 3
HII SATF CCCMsS” 3
IV CAL CCCMS 4
IV CAL EOP 4
IV CAL TMHU 4
IV CEN CCCMS 3
IV CIM MHCB 3
IV CIM STRH 3
IV CIM EOP 3
IV cIW CCCMS® 3
IV CRC CCCMS 4
IV CVSP TMHU 4
IV ISP THMU2 3

* Beginning 6/25 CMF PIP changed from Tier 4 to 3

*Beginning 6/24 SQ ASU, EOP, CCCMS and STRH changed from Tier 3 to 4

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°CTF CCCMS and TMHU only identified as Tier 3 on 6/22. The rest of the week were Tier 2 only
“ Beginning 6/24 ASP CCCMS identified as Tier 3

7 Beginning 6/25 SATF EOP, CCCMS, and STRH identified as Tier 3

Beginning 6/24 CIW CCCMS identified as Tier 3

“Beginning 6/23 ISP identified as Tier 3
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Exhibit S
Case 2:90-cv-00520-KJM-SCR Document 6768-2 Filed 07/15/20 Page 6 of 67

From: Nick Weber

To: Marc Shinn-Krantz; Melissa Bentz

Cc: ee —- Elise Thom; Kyle Lewis; Lucas Hennes; Tyler Heath; Jessica Winter;
Bien; Lisa Ells; Matt Lopes; Kerry F. Walsh; Kent, Kristopher@DSH-S; Christine Ciccotti; Nina Raddatz; Steve
Fama

Subject: RE: Coleman: PG Depettaies Update Stipulation [TWOV-DMS.FAID6429]

Date:

Attachments:
TMHU Patient List as of 0629-07032020. fa
Tier Report 06292020 - 07032020.ndf

Hi Marc,

Attached are Defendants’ revisions to the stipulation and Appendix A. | want to specifically address
points five and six below. Regarding the Maps filing, Defendants agree to include the closure status
of each institution on the face sheet for each map produced in the maps filing tomorrow.

Second, regarding the TMHU/TIP List, | want to clarify that each report covers a span of days —
generally a workweek — and includes any patient reported to be in the TMHU or TIP during that
week and if they were released that week. Thus, the reports are not point in time. The labeling of
the document has been inconsistent which has led to this confusion. Accordingly, | have edited
paragraph two to reflect the date spans for each report we will be submitting. Additionally, upon
review of that, | realized that we did not provide tier or TMHU/TIP data for the week of June 29 —
July 3, 2020, but skipped ahead to July 6 —July 10, 2020. | am providing that data now and it is
reflected in the stipulation.

My plan is to redact all reports that include patient information listed in paragraph two and also,
sometime in the morning, pull the TMHU registry off the On Demand reports. Last month, we ran
the report from May 15 — June 15, 2020. | propose to run it from June 16- July 15, 2020. Please let
me know if you disagree or would like to discuss any of these changes.

Thanks.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

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June 29 -July 3, 2020

Region Institution MH Porgram Current Tier
| CMF PIP Acute 4
CMF PIP ICF* 4
SAC PSU 4
| SAC ASU 4
SAC STRH 4
SAC LTRH 4
SAC EOP 4
SAC CCCMS 4
SAC TMHU 4
SAC MHCB 4
| SQ STRH 4
SQ CCCMS 4
| SQ ASU 4
SQ EOP 4
| sQ Acute 4
SQ ICF 4
| SQ MHCB 4
II CCWF CCCMS 4
I! CCWF STRH 3
I CTF CCCMS 3
II CTF TMHU 3
II SVSP EOP 4
II SVSP CCCMS 4
I SVSP ICF* 4
111 ASP CCCMS 3
III LAC ASU 3
III LAC EOP® 3
HII LAC TMHU 3
HII SATF EOP 3
III SATF STRH 3
III SATF CCCMS 3
IV CAL CCCMS 4
IV CAL EOP 4
IV CAL TMHU 4
IV CEN CCCMS 3
IV CIM MHCB 3
IV CIM STRH 3
IV CIM EOP 3
IV cIW CCCMS 3
IV CRC CCCMS 4
IV CVSP TMHU* 4
IV ISP THMU 3

* CMF PIP Acute and ICF changed from Tier 4 to Tier 3 as of 7/1

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> SVSP ICF Tier 3 on 6/29 and 6/30, changed to Tier 4 on 7/1-7/3
> LAC ASU changed to Tier 4 on 7/3
* CVSP THMU changed from Tier 4 to 3 on 7/1
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Exhibit T
Page 10 of 67

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Twenty of the licensed Acute beds (S-2 unit) are being used as temporary MHCBs.

Thus, the CMF-APP Census trends reflect only those inmates in the Acute program, not c

beds.

risis

Source: HC-POP “MIS SUM files.

Mental Health Bed Need Study (based on Fall 2009 Population projections)

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F 8002/L/01 ; 600Z/4/b

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+ 8002/1/8
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p L00e/b/2 + LO0Z/LIS

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2007. Currently a 56 beds
capacity unit.
v

+ LO0Z/L/E
+ L002/b/2

SVPP Wait List Census Rate Trend — (PC2684’s only)

Opening of Delta-5 unit in April

r 900Z/L/LL

+ LO002/L/b
; 9002/16

1370 Wait List
300 ~— gq SVPP Wait List

F 9002/L/21

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F 9002/L/01

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The SVPP Wait List has increased s

SVPP -ICF Wait List|

+ 9002/1L/8

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Source: DMH's “SVPP Wait List..xIs"

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Mental Health Bed Need Study (based on Fall 2009 Population projections)

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RNIA — DEPARTMENT OF CORRECTIONS AND REH ATION

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DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM

P.O. Box 588500

Elk Grove, California 95758

April 15, 2020

Matthew A, Lopes, Jr. Esquire

Office of the Special Master

Pannone Lopes Devereaux & O’Gara LLC
Northwoods Office Park

1301 Atwood Avenue, Suite 215 N
Johnston, RI 02919

via: Elise Owens Thorn, Esquire
Deputy Attorney General
Department of Justice
1300 I Street, Suite 125
P.O. Box 944255
Sacramento, CA 94244-2550

RE: COLEMAN MONTHLY REPORT OF INFORMATION REQUESTED AND
RESPONSE TO JANUARY 19, 1999, COURT ORDER REGARDING STAFF
VACANCIES

Dear Mr. Lopes:

Enclosed is the Coleman Monthly Report reflective of February, 2020, data (or as
otherwise noted). The following is the list of enclosures:

1. California Department of Corrections and Rehabilitation (CDCR) Staffing Report.

. Mental Health Executive Summary.

. Mental Health Institution Vacancy by Classification.

. Mental Health Institution Vacancies Summary by Classification.

. Mental Health Month to Month Registry Usage.

. Mental Health Six-Month Vacancy Summary.

. Mental Health Program Institution Vacancies - Summary by Classification.

. Statewide Mental Health Program Compliance Summary Report.

. Enhanced Outpatient Program Administrative Segregation Unit (EOP ASU) Case
Manager Positions and Vacancies.

i. Mental Health Hiring Progress Report.

j. Mental Health Statewide Hire Tracking Summary - Clinical Positions Only.

k. Mental Health Telepsych Allocated and Filled Positions Report.

|. Psychiatric Inpatient Program (PIP) Staffing Data.

m. Department of State Hospitals (DSH) Staffing Data.

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2. Reception Center Monthly Reports.
a, Reception Center Mental Health Screening Report.
b. Reception Center Transfer Timelines Report.

3. Continuous Length of Stay Counts for Mental Health Services Delivery Systems
(MHSDS) ASU, Secured Housing Unit (SHU), and Psychiatric Services Unit
(PSU) report.
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Matthew A. Lopes, Jr. Esquire

Page 2

4, EOP Inmates Waiting Transfers to PSU,

5. EOP ASU Hub Trends.

ON

. Population and Census Reports.
a. Health Care Placement Oversight Program (HCPOP) Information Report,
Summary of Mental Health Population by Institution and Level of Care (H-1).
b. MHSDS Management Information Summary (MIS).
c. Weekly EOP/Outpatient Psychiatric Program Report.

7. Mental Health Crisis Bed (MHCB) Reports.
a. MHCB Referrals report.
b. MHCB Stays report.
c. MHCB Wait List.

8. DSH and Inpatient Program Referral Reports.
a. Referrals for Transfer to Inpatient Programs Report.
b. DSH Monthly Report of CDCR Patients in DSH Hospitals, Summary of PC 2684s
Report.
9, Milestone Credits Report.
10. Work Assignments Report.
11. Out of Level Housing Report.

If you have any questions, please contact me at (916) 691-0296.

Coe thy

EUREKA C, DAYE, Ph.D, MPH, MA, CCHP
Deputy Director (A), Statewide Mental Health Program
California Department of Corrections and Rehabilitation

Enclosures

cc: Mohamedu F,, Jones, Esq., Coleman Deputy Special Master
Kerry F. Walsh, Esq., Coleman Deputy Special Master
Jeffrey L. Metzner, M.D., Coleman Expert
Kerry C. Hughes, M.D., Coleman Expert
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Mary Perrien, Ph.D., Coleman Expert
Henry A. Dlugacz, Esq., Coleman Expert
Patricia Williams, Esq., Coleman Monitor
Nicholas Weber, Esq, Office of Legal Affairs, CDCR
Melissa Bentz, Esq, Office of Legal Affairs, CDCR
Michael Bien, Esq., Rosen, Bien and Galvan
Donald Specter, Esq., Prison Law Office
Steve Fama, Esq., Prison Law Office
Angela Ponciano, Associate Director, Statewide Mental Health Program, DHCS
Laura Ceballos, Ph.D., Mental Health Administrator, Inpatient Facilities and
Quality Improvement, Statewide Mental Health Program, DHCS
Steven Cartwright, Psy.D, Chief Psychologist, Quality Management, Statewide
Mental Health Program, DHCS
Teresa Owens, Health Program Specialist I, Quality Management, Statewide Mental
Health Program, DHCS
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Case 2

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Exhibit V
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From: Michael W, Bien

To: Coleman Team - RBG Only

Subject: FW: Coleman - Mission Change Letter
Date: Thursday, October 03, 2019 9:58:33 AM
Attachments: Ltr. NW-ML re Mission Changes 10.3.19.pdf

From: Weber, Nicholas@CDCR

Sent: Thursday, October 3, 2019 9:57:52 AM (UTC-08:00) Pacific Time (US & Canada)

To: Michael W. Bien; Steve Fama; Lisa Ells; Angie Cooper; Cynthia Radavsky; Henry D. Dlugacz; Jeff
Metzner; Karen Rea-Williams; Kerry Courtney Hughes, MD; Kerry F. Walsh; Kristina Hector; Lindsay
Hayes; L M. Hunt; Maria Masotta; Matt Lopes; Mohamedu Jones; Mary Perrien; Patricia M. Williams;
Rachel Gribbin; Regina Costa; Rod Hickman Gmail; Roxie Dunbar; Steve Raffa; Tim Rougeux

Cc: Elise Thorn; Tyler Heath; Melissa Bentz; Hessick, Jerome@CDCR; Hockerson, Dillon@CDCR;
Ponciano, Angela@CDCR; Mitchell, Kelly@CDCR; Brizendine, Brittany@CDCR; Moose, Kristen@CDCR;
Laura Ceballos; Lorey, Dawn@CDCR; Golding, Michael@CDCR; Williams, Travis@CDCR; Worrell,
Wendy@CDCR; Daye, Eureka@CDCR

Subject: Coleman - Mission Change Letter

All,
Please find attached this month’s mission change letter.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

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intended recipient, please contact the sender and destroy all copies of the communication.
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STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill

General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001

October 3, 2019

Special Master Lopes

Pannone Lopes Devereaux and O’Gara LLC
Northwoods Office Park, Suite 215N

1301 Atwood Avenue

Johnston, RI 02919

VIA EMAIL
Dear Special Master Lopes:

I write regarding planned mission changes, crisis and inpatient bed closures, and tele-psychiatry
office space.

1. Planned Mission Changes

Below are scheduled Enhanced Outpatient Program and segregation bed changes.

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LObivts GOR S TTL tg)
COR PSU 3A-3 PSU 50 TBD

As previously reported, California State Prison, Sacramento converted sixty-four Psychiatric
Services Unit beds to sixty-four Long Term Restricted Housing (LTRH) unit beds on September
9, 2019.

California State Prison, Corcoran (COR) converted seventy-seven Security Housing Unit beds to
seventy-seven LTRH beds on July 25, 2019.

COR also moved 150 Enhanced Outpatient Program (EOP) beds from 3A-3 to 3A-4 on July 3,
2019 and moved their Administrative Segregation Unit EOP Hub from 3A-4 to 3A-3 on that same
date.

Salinas Valley State Prison (SVSP) took down ninety-six EOP beds and California Men’s’ Colony
changed their D Yard from a level three to a level two in July 2019.

2. Crisis and Inpatient Beds

The following is a list of crisis or inpatient beds currently offline. Updates from the last letter are
in red.
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Special Master Lopes
Page 2

Dyer Vee Mest hte 1 Uae ODE Les
SVSP MHCB _ January 25, 2019 10 Staffing TBD
PVSP MHCB __ February 19, 2019 6 Roof Repair TBD
CMF PIP Q1 April 29, 2019 23 Staffing TBD

Crisis beds at SVSP and Pleasant Valley State Prison (PVSP) and are closed. SVSP’s crisis bed
and Correctional Treatment Center (CTC) remain closed pending re-staffing of the unit. The unit
closed in January for Root Cause Analyses and a subsequent accessibility retrofit which are now
complete. PVSP’s CTC roof was replaced, however, further internal repairs are ongoing due to
water damage.

The California Medical Facility (CMF) PIP, unit Q1, is currently operating six acute beds due to
nursing staffing. Twenty-three additional acute beds in Q] remain offline. CMF PIP P2 is
operating as an acute unit.

High Desert State Prison’s (HDSP) Mental Health Crisis Bed reactivated in September 2019 as
HDSP now has on-site psychiatry to service the unit.

The PIP and crisis beds at California Healthcare Facility have resumed normal intake following
the Legionella decontamination. CDCR continues to monitor the units’ water supply for
Legionella.

3. Telepsychiatry Office Space

CDCR currently operates ninety-seven telepsychiatry offices at six locations.

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Elk Grove, CA 17 Offices
San Quentin, CA 18 Offices
Rancho Cucamonga, CA 27 Offices
Diamond Bar, CA 18 Offices
Fresno, CA 2 Office

Santa Ana, CA 15 Offices
Subtotal 97 Offices

CDCR operates six telemedicine offices in Fresno and three telemedicine offices in Bakersfield.
Two of those offices in Fresno are currently being used by telepsychiatrists. While those nine
telemedicine offices have been offered to CDCR for telepsychiatry use as needed, the unused
offices remain classified as telemedicine.
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Special Master Lopes
Page 3

Below is a telepsychiatry office space activation and deactivation schedule.

IL Cy PLT LIYS mt) @ OTS br
Diamond Bar, CA 1 Offices November 2019
Rancho Cucamonga, CA -9 Offices December 2019
San Quentin, CA 18 Offices 2024/25
Sincerely,
/s/ Nick Weber
NICK WEBER
Attormey

Office of Legal Affairs
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Exhibit W
Case 2:90-cv-00520-KJM-SCR Document 6768-2 Filed 07/15/20 Page 61 of 67

From: Michael W, Bien

To: Coleman Team - RBG Only

Subject: FW: Coleman - Mission Change Letter
Date: Friday, November 01, 2019 3:43:20 PM
Attachments: Ltr. NW-ML re Mission Changes 11.1.19.pdf

Transfers P2 July 1-8 2019.pdf

From: Weber, Nicholas@CDCR

Sent: Friday, November 1, 2019 3:43:01 PM (UTC-08:00) Pacific Time (US & Canada)

To: Michael W. Bien; Steve Fama; Lisa Ells; Angie Cooper; Cynthia Radavsky; Henry D. Dlugacz; Jeff
Metzner; Karen Rea-Williams; Kerry Courtney Hughes, MD; Kerry F. Walsh; Kristina Hector; Lindsay
Hayes; L M. Hunt; Maria Masotta; Matt Lopes; Mohamedu Jones; Mary Perrien; Patricia Williams; Rachel
Gribbin; Regina Costa; Rod Hickman Gmail; Roxie Dunbar; Steve Raffa; Tim Rougeux

Cc: Elise Thorn; Tyler Heath; Melissa Bentz; Hessick, Jerome@CDCR; Hockerson, Dillon@CDCR;
Ponciano, Angela@CDCR; Mitchell, Kelly@CDCR; Brizendine, Brittany@CDCR; Moose, Kristen@CDCR;
Laura Ceballos; Lorey, Dawn@CDCR; Golding, Michael@CDCR; Williams, Travis@CDCR; Worrell,
Wendy@CDCR; Daye, Eureka@CDCR; Steven Cartwright; Robert Henkels; Kyle Lewis

Subject: Coleman - Mission Change Letter

All,
Please find attached this month’s mission change letter.

Nick Weber

Attorney

Department of Corrections & Rehabilitation
1515 S Street, Suite 3145S

Sacramento, CA 95811-7243

(916) 323-3202

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STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill

General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001

November 1, 2019

Special Master Lopes

Pannone Lopes Devereaux and O’Gara LLC
Northwoods Office Park, Suite 215N

1301 Atwood Avenue

Johnston, RI 02919

VIA EMAIL

Dear Special Master Lopes:

I write regarding planned mission changes, changes in use for crisis and inpatient beds, and tele-
psychiatry office space.

1. Planned Mission Changes

Below are scheduled Enhanced Outpatient Program (EOP) and segregation bed changes.

sRiReiaiiscoit ai Tat me iy its PeCoiksiirs coat) ett bs Brice

LObivts GOR rrLCat0)
COR PSU 3A-3 PSU 50 TBD

Plaintiffs raised a number of questions regarding recent activations at California State Prison,
Sacramento and California State Prison, Corcoran. Those questions are addressed below.

a. California State Prison, Sacramento Unit B8&

As previously reported, the California Department of Corrections and Rehabilitation (CDCR)
converted sixty-four Psychiatric Services Unit (PSU) beds to Long Term Restricted Housing
(LTRH) unit beds on September 9, 2019. The beds are located in unit B8 at California State Prison,
Sacramento. Class members in the LTRH received LTRH level of care. Ifa patient’s level of care
changes, they are transferred to the appropriate level of care pursuant to transfer timeframes
outlined by policy.

Patients in B8 are offered fifteen hours or more of out of cell activity each week. They are offered
ten hours of yard, three and a half hours of dayroom time, and a ninety minute structured group
session. They also receive weekly 1:1 contacts with their primary clinicians. Psychiatric
technicians round the unit daily.
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The B8 LTRH shares eleven Individual Exercise Yards with the adjacent PSU on B facility. B
PSU’s treatment center has eighty therapeutic treatment modules (TTM) for group therapy spread
out across eight treatment rooms with ten TTMs in each. Those treatment rooms are shared with
B PSU. B8 itself has thirty-two restart chairs installed across its three sections. Ten are in sections
A and B, and twelve are in section C. Those chairs are used solely for B8’s population.

Finally, SAC B-8 does not have a policy to cluster transgender women patients in the Mental
Health Services Delivery System or class members receiving hormone replacement therapy.

CDCR is still gathering September 9, 2019, census information for B8 per Plaintiffs’ request and
will provide it when available.

b. California State Prison, Corcoran Psychiatric Services Unit

Corcoran unit 3A-3, which is an Administrative Segregation Unit (ASU) EOP hub, has twenty
Individual Exercise Yards and forty-nine TTMs available for group therapy. Corcoran 1s utilizing
all beds in 3A-3 as an ASU EOP hub program as the conversion to PSU has not occurred. Should
it occur, half the beds in 3A-3 will be converted to PSU. CDCR will provide written up-to-date
information about staffing in advance of any further discussions about the proposed conversion.

Corcoran is in the process of installing fifteen restart chairs in unit 4A-2L for its LTRH program.
Five restart chairs will be installed in each of the three sections of 4A-2L.

Corcoran unit 3A-4 is a general population EOP unit and does not use Individual Exercise Yards
or TTMs for programming.

2. Crisis and Inpatient Beds

Like any large system, hospital beds will be taken offline for a myriad of reasons. Today, sixteen
of CDCR’s 474 crisis beds, or just over three percent, are offline due to physical plant damage or
staffing. And thirteen of CDCR’s 1,641 Psychiatric Inpatient Beds (PIP) beds, or less than one
percent, are offline for staffing. Contrary to Plaintiffs’ assertion, CDCR has not kept these beds
offline because they are not needed. These beds are offline for the reasons noted and will reopen
as soon as repairs are completed and are adequately staffed.

Plaintiffs’ assertion that these bed closures violate court orders is similarly misplaced. Defendants
have provided notice to the Special Master and Plaintiffs of every bed closure as they occur and
regularly update the Special Master and Plaintiffs on the status of the beds. And the parties meet
and confer regularly to discuss mission changes and bed closures.

The following is a list of crisis or inpatient beds currently offline.
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PR a LACIE aPTer Taare Ci Deni} aie Dries
SVSP MHCB _ January 25, 2019 10 Staffing TBD
PVSP MHCB _ February 19, 2019 6 Roof Repair TBD
CMF PIP Q1 April 29, 2019 13 Staffing TBD

The following is a list of changes or activations in inpatient bed usage. These changes were
originally noticed by separate emails and are discussed in more detail below.

PRRs CO riiteoe PLCs (ers If ryt

CMF PIP Qi Oct. 12, 2019 10 Activate Redlined Acute Cells

CHCF A2B Oct. 12 and 16,2019 20 Flex MHCB to Acute

SQ PIP Oct. 16, 2019 10 Permit Use of Available Beds for Non-
Condemned Acute.

a. Salinas Valley State Prison Correctional Treatment Center and Crisis Beds

SVSP’s crisis bed and Correctional Treatment Center (CTC) closed on January 25, 2019, for root
cause analyses into the death of an inmate and treatment concerns regarding another inmate that
did not result in death. The root cause analyses, and their resulting agitation and self-harm
protocols, are maintained by the Plata Receiver. California Correctional Health Care Services will
not release any of these documents to Co/eman Plaintiffs. Likewise, because the death of Mr.
Rivera 1s intertwined with the Root Cause Analysis, CDCR cannot respond to Plaintiffs’ February
6 or October 15, 2019, inquiry regarding his death.

CDCR expects the CTC medical beds to reopen on November 4, 2019. The medical beds have all
necessary and required staff, including nursing, medical, mental health, and custody. Medical
patients in the Mental Health Services Delivery System are provided care from clinicians assigned
to the outpatient caseload, not the crisis bed. The crisis bed remains closed pending identification
of psychiatry staffing.

b. Pleasant Valley State Prison Crisis Bed

Pleasant Valley State Prison’s crisis bed closed on February 19, 2019 due to roof damage following
rain. As a result of the damage, the interior of the building was severely damaged. CDCR
continues to repair the building but no reopening date is available at this time.

c. High Desert State Prison Crisis Bed

High Desert’s crisis bed reopened on October 1, 2019. The psychiatrist who had previously
worked in the crisis bed left state employment at the end of June 2019. High Desert is aware of
its duty to continue to refer patients in need of crisis bed care to a crisis bed, regardless of whether
their unit is open. According to the MHCB Referrals Report, for the three months the crisis bed
was closed between July 1, 2019, and September 30, 2019, High Desert referred 84 patients for
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crisis bed care. High Desert referred the same number of patients during the preceding three
months of April 1, 2019, to Jun 30, 2019.

d. California Medical Facility Q1

California Medical Facility Q1 is an acute unit at the California Medical Facility PIP with twenty-
nine beds. Currently, sixteen of twenty-nine beds are operating. In order to activate the remaining
thirteen beds, CDCR must provide additional psychiatry staff.

e. California Medical Facility P2

California Medical Facility P2 is an acute unit at the California Medical Facility PIP. P2 has thirty-
six beds. Originally, CDCR planned to close P2 and shift its resources to Q1 when Q1 reactivated
from retrofits. That plan ultimately did not occur. P2 remained open, but instead flexed to acute
on July 8, 2019, in response to an increased demand for acute beds. The ICF patients in P2 at that
time were either transferred to additional ICF beds or discharged if they met clinical requirements.
A list of all ICF patients who transferred out of P2, either through transfer to another ICF or
discharge to another level of care, between July 1 and 8, 2019, is attached.

f California Healthcare Facility

i. Water Safety

The PIP and crisis beds at California Healthcare Facility (CHCF) are currently accepting low and
medium medical risk inmates and any high risk medical inmate that is medically cleared to be
housed at CHCF.

CHCF first closed to intake on March 22, 2019 and was reopened on March 27, 2019, in response
to legionella contamination. The facility was again closed on April 17 and reopened on April 18,
2019. On April 18, 2019, CHCF was open to only low medical risk inmates. On April 22, 2019,
CHCF began admitting medium medical risk inmates as well as high medical risk inmates that
were cleared for placement. That intake procedure remains in place today.

Plaintiffs’ raised several questions in their October 15, 2019, letter. Those are addressed below:

« All patients at CHCF can use their building’s regular showers. CHCF has resumed normal
shower program.

« All water is safe in A-4, C-3, D-2, E-1, E-2, E-3, E-4, and E-5. For A-4, C-3, and D-2,
water restrictions were lifted on October 10, 2019. Water restrictions in E-Facility were
lifted on July 30, 2019, except for E-5 which was lifted September 17, 2019.

« Bottled water continues to be delivered for units A-1, A-2, B-1 through B-8, C-1, C-2, C-
4, C-5, C-6, D-1, and D-3 through D-7.

= Water restrictions were re-imposed for part of the central mall, Facility Shared Services
(FSS), on October 10, 2019 due to testing results. FSS 201N showed legionella average
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readings above 1 CFU/ml and weekly monitoring was initiated. FSS 202N showed
legionella average below 1 CFU/ml and is monitored monthly.

=» CHCF continues with the steps to control legionella bacteria that began at the very end of
July: (1) periodic thermal disinfection of certain water valves in the plumbing system, and
(2) either monthly, weekly, or daily flushing of the plumbing pipes in all CHCF buildings.
Some or all of these measures will become a part of CHCF’s long-term water safety
management plan.

« Water sampling continue in all buildings at CHCF on an at least monthly basis.

ii. Acute Flex

On October 12, 2019, in response to two broken windows in a CHCF acute unit, A2A, CDCR
flexed two crisis beds in adjacent A2B to acute. Those windows were quickly repaired and the
cells reactivated as acute on October 14, 2019.

On October 16, 2019, due to rising demand for acute beds, CDCR flexed an additional eighteen
crisis beds in A2B to acute, for a total of twenty beds. As noted in my October 16, 2019, email,
nursing services are provided by the team in A2A and patients were admitted by CHCF’s acute
team. Routine acute care is provided by CHCF mental health staff assigned to A2B.

g. San Quentin PIP

Also on October 16, 2019, CDCR opened up available PIP beds in the San Quentin PIP to non-
condemned acute patients. CDCR had previously opened available San Quentin PIP beds to San
Quentin non-condemned patients in need of crisis bed care. Subsequently, CDCR opened those
beds to any non-condemned inmate in need of crisis bed care. CDCR maintains the same priority
for San Quentin PIP beds as before:

¢ First Priority — PIP ICF Patients (Condemned only)

¢ Second Priority - PIP Acute Patients (Condemned only)

* Third Priority - PIP MHCB Patients (Condemned only)

* Fourth Priority - Non-Condemned MHCB or Acute Patients, depending upon bed need.

As with before, the Health Care Placement Oversight Program, in consultation with Headquarters’
Inpatient Referral Unit, will be responsible for determining when there is need for a specific level
of inpatient care necessitating a change of the program designation of these beds.

As of October 31, 2019, ten non-condemned acute patients are in the San Quentin PIP.

3. Telepsychiatry Office Space

CDCR currently operates ninety-seven telepsychiatry offices at six locations.
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Page 6

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Elk Grove, CA 17 Offices
San Quentin, CA 18 Offices
Rancho Cucamonga, CA 27 Offices
Diamond Bar, CA 18 Offices
Fresno, CA 2 Office

Santa Ana, CA 15 Offices
Subtotal 97 Offices

CDCR operates six telemedicine offices in Fresno and three telemedicine offices in Bakersfield.
Two of those offices in Fresno are currently being used by telepsychiatrists. While those nine
telemedicine offices have been offered to CDCR for telepsychiatry use as needed, the unused
offices remain classified as telemedicine.

Plaintiffs’ inquired why Diamond Bar is only expected to have nineteen offices instead of the
previously forecast twenty-three. Four offices were allocated to tele-medicine.

Below is a telepsychiatry office space activation and deactivation schedule.

Iie ti SLiLiyS met) Orsi ess yrs
Diamond Bar, CA 1 Offices November 2019
Rancho Cucamonga, CA -9 Offices December 2019
San Quentin, CA 18 Offices 2024/25
Sincerely,
/s/ Nick Weber
NICK WEBER
Attorney

Office of Legal Affairs
